[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]MEMORANDUM OF DECISION RE: DEFENDANT'S MOTION FOR SUMMARY JUDGMENT
The motion for summary judgment is denied. See Reboni, Adm.,et al v. Case Brothers, Inc., et al, 137 Conn. 501 (1951); Bogorattv. Pratt  Whitney, et al, 114 Conn. 126 (1932); Kasowitz v. TheMutual Construction Company, 154 Conn. 607 (1967); Battistelli v.Connohio Inc., 138 Conn. 646 (1952); Bates v. The Connecticut PowerCompany, 130 Conn. 256 (1943).
William L. Hadden, Jr., Judge